          Case 1:17-cr-00201-ABJ Document 61 Filed 11/27/17 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.

 RICHARD W. GATES III,                    Crim. No. 17-201-2 (ABJ)


               Defendant



         NOTICE OF DEVELOPMENT RELATED TO THE GOVERNMENT’S
         MOTION TO REVIEW REPRESENTATION OF DEFENDANT GATES

       The United States of America, by and through Special Counsel Robert S. Mueller III, writes

to notify the Court of a recent development relevant to the government’s motion (ECF#52)

requesting that the Court review the propriety of attorney Walter Mack’s representation of

defendant Richard W. Gates III in light of a potential conflict of interest. See Nov 21, 2017

Hearing Tr. 18 (this Court directs the government to “file a notice [if] there’s been some

development” in the New York case “so that we can all be aware of it”).

       On November 22, 2017, in United States v. Steven Brown, 16-cr-436 (KMW), which is

pending before United States District Judge Kimba M. Wood in the Southern District of New

York, the Court approved the government’s request for a Curcio hearing and directed the parties

to confer regarding a “date and time for the hearing as soon as possible.” The relevant docket

entry reads as follows:


       MEMO ENDORSEMENT as to Steven Brown on re: [113] LETTER MOTION
       addressed to Judge Kimba M. Wood from AUSA Katherine Reilly dated November 20,
       2017 re: Potential Conflict of Interest and Curcio Inquiry filed by USA.
       ENDORSEMENT: [The government] shall confer with Counsel for Mr. Brown regarding
       a [d]ate and time for this hearing as soon as possible, and shall call [the courtroom]
         Case 1:17-cr-00201-ABJ Document 61 Filed 11/27/17 Page 2 of 2



       deputy, Ms. Tomasello to set a date, either in the afternoon of Nov. 22, or morning the
       first week in December. (Signed by Judge Kimba M. Wood on 11/21/2017)(ft)

       In accordance with that order, Judge Wood has now scheduled a Curcio hearing on

December 4, 2017 at 11:45 a.m. Attached as Exhibit A is a copy of the letter filed in the Brown

case by the U.S. Attorney’s Office for the Southern District of New York, which was endorsed by

Judge Wood.


                                                    Respectfully submitted,

                                                    ROBERT S. MUELLER III
                                                    Special Counsel

Dated: November 27, 2017                    By:     __/s/_ Greg Andres_________________
                                                    Andrew Weissmann
                                                    Greg D. Andres (D.D.C. Bar No. 459221)
                                                    Kyle R. Freeny
                                                    U.S. Department of Justice
                                                    Special Counsel’s Office
                                                    950 Pennsylvania Avenue NW
                                                    Washington, DC 20530
                                                    Telephone: (202) 616-0800

                                                    Attorneys for the United States of America
